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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

U.S. BANK EQUIPMENT FINANCE, a division             )
of U.S. BANK NATIONAL ASSOCIATION,                  )      Case No.: 1:19-cv-06652
                                                    )
                                                    )
                      Plaintiff,                    )
                                                    )
                                                    )
ALEXONKA, INC. and                                  )
ALEKSANDRAS SMIRNOVAS,                              )
                                                    )
                      Defendants.                   )

     U.S. BANK NATIONAL ASSOCIATION’S OPPOSITION TO DEFENDANTS’
              MOTION TO VACATE BODY ATTACHMENT ORDER

       NOW COMES Plaintiff U.S. BANK EQUIPMENT FINANCE, a division of U.S. BANK

NATIONAL ASSOCIATION (“U.S. Bank”), by and through its attorneys, and for its Opposition

to Defendants ALEXONKA, INC.’s (“Alexonka”) and ALEKSANDRAS SMIRNOVAS’s

(“Smirnovas”) (collectively, the “Defendants”) Motion to Vacate Body Attachment Order

(“Motion”), states as follows:

                                      INTRODUCTION

       The Court issued a Writ of Body Attachment for Smirnovas, for the Defendants’ failure to

obey the Court’s various orders. Despite the Defendants’ repeated flouting of the Court’s orders

and refusal to comply, the Defendants audaciously request that the Court vacate the Writ of Body

Attachment. For the reasons set forth below, the Court should deny Defendants’ request, until the

Defendants actually abide by the Court’s orders.

                                    BACKGROUND FACTS

   1. On October 8, 2019, U.S. Bank filed its Complaint against Defendants for breach of

       contract, breach of guaranty, replevin and detinue. See Complaint, Docket No. 1.



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   2. U.S. Bank subsequently filed its Motion for Replevin and Detinue, seeking an order of

      detinue and an order of replevin against Alexonka. See Docket No. 5. On October 28,

      2019, the Court entered an order of detinue (“Order of Detinue”), ordering Alexonka to

      return 10 trucks financed by U.S. Bank (the “Collateral”) at a place and time directed by

      U.S. Bank, within fourteen (14) days of service of the Court’s order. See Order of Detinue,

      Docket No. 11.

   3. U.S. Bank’s Complaint and Motion for Replevin and Detinue alleged that the value of the

      Collateral was approximately $340,000.00, depending on condition. See Complaint,

      Paragraph 31; Motion for Replevin and Detinue, Paragraph 21.

   4. On October 29, 2019, the Order of Detinue was personally served on Smirnovas, as

      registered agent for Alexonka. See Docket No. 12.

   5. The Collateral is identified as follows:

      One (1) 2015 Freightliner Truck, Model CA125SLP, VIN: 3AKJGLD59FSGH3251;
      One (1) 2015 Freightliner Truck, Model CA125SLP, VIN: 3AKJGLD50FSGH3252;
      One (1) 2015 Freightliner Truck, Model CA125SLP, VIN: 1FUJGLD51FLGG4040;
      One (1) 2015 Freightliner Truck, Model CASCADIA, VIN: 3AKJGLD54FSGD8133;
      One (1) 2015 Freightliner Truck, Model CASCADIA, VIN: 3AKJGLD56FSGD8134;
      One (1) 2015 Freightliner Semi Truck, Model CA125SLP, VIN: 1FUJGLD55FLGG4042;
      One (1) 2015 Freightliner Semi Truck, Model CA125SLP, VIN: 1FUJGLD59FLGG4044;
      One (1) 2015 Freightliner Semi Truck, Model CASCADIA, VIN: 3AKJGLD52FSGD8132;
      One (1) 2015 Freightliner Semi Truck, Model CA125SLP, VIN: 3AKJGLD53FSGG4092;
      One (1) 2015 Freightliner Semi Truck, Model CA125SLP, VIN: 3AKJGLD52FSGM7935.


   6. Because of Alexonka’s refusal to comply with the Order of Detinue and appear before the

      Court, on December 4, 2019, the Court entered an Order to Show Cause and for Indirect

      Civil Contempt against Defendants. See Docket Nos. 19, 20 and 21. The Court further

      entered an order for default judgment against the Defendants, and an order of replevin

      against Alexonka on December 4, 2019. See Docket No. 22.




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   7. On January 10, 2020, due to Defendants’ refusal to comply with the Order of Detinue and

      appear at the hearings on December 16, 2019 and January 8, 2020 on the Order to Show

      Cause and for Indirect Civil Contempt, the Court issued a Writ of Body Attachment (the

      “Body Attachment”) to Defendants. See Docket Nos. 26 and 27.

   8. On or about February 27, 2020, Deputy Timothy Slade of the U.S. Marshals Service

      contacted Smirnovas by phone, to see if Smirnovas would voluntarily come in on the Body

      Attachment, to avoid the U.S Marshals’ execution on the Body Attachment and arrest of

      Smirnovas. Deputy Slade reported to the undersigned counsel that he was “taken aback”

      by his conversation with Smirnovas, because Smirnovas was defiant, said he would not

      cooperate, and told Deputy Slade something to the effect of, “You’ll have to come and find

      me, because I won’t surrender.”

   9. Based on Smirnovas’ refusal to voluntarily comply with the Body Attachment, on or about

      March 12, 2020, Deputy Slade, five deputies from the U.S. Marshals Service and three

      members of the local police department went to Smirnovas’ house to execute on the Body

      Attachment.

   10. Smirnovas was not present in the house, but his wife and two children were home.

      Smirnovas’ wife advised that: Smirnovas was out of the country; that they were separated;

      that she does not contact Smirnovas; and that Smirnovas contacts her whenever he wants

      (despite that they have two children together). Once the U.S. Marshals confirmed that

      Smirnovas was not physically present in the home, the U.S. Marshals left the premises.

   11. Deputy Slade advised the undersigned counsel that, ten minutes after the U.S. Marshals

      left Smirnovas’ home, Smirnovas called Deputy Slade, swearing at him and berating him

      for going to Smirnovas’ home to execute on the Body Attachment. Based on Smirnovas’




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      behavior during the conversation, Deputy Slade commented to the undersigned counsel

      that Smirnovas appears “to have no respect for the law.”

   12. On or about March 12, 2020, the undersigned counsel received a phone call from Elorm

      Y. Blake, Supervisory Deputy at the U.S. Marshals Service. Ms. Blake indicated that,

      based on Smirnovas’ behavior and threatening language on the phone to Deputy Slade, the

      U.S. Marshals would need to take special precautions when executing on the Body

      Attachment, to ensure the deputies’ safety when arresting Smirnovas. The U.S. Marshals

      planned to execute on the Body Attachment once Smirnovas returned to the country.

   13. Because of the subsequent COVID-19 pandemic, and because Smirnovas was out of the

      country, the U.S. Marshals were unable to execute on the Body Attachment over the next

      few months.

   14. On May 5, 2020, attorney Abraham Brustein contacted the undersigned counsel via letter

      on behalf of the Defendants, indicating that the Defendants were finally willing to obey the

      Court’s entered orders and surrender the Collateral. The undersigned counsel called Mr.

      Brustein the same day, to coordinate the Defendants’ return of the Collateral to U.S. Bank.

   15. Smirnovas apparently began contacting U.S. Bank’s repossession agent, Edward Castagna

      at InPlaceAuction LLC and his associate Sonny Datoli, shortly thereafter, to coordinate

      return of the Collateral, and was set to return some of the trucks on May 12, 2020.

   16. At approximately 4:00 am on May 12, 2020 – just hours before the Defendants were to

      turn over the Collateral – a mysterious fire broke out at the lot that stored some of the

      Collateral, destroying two of U.S. Bank’s trucks. See Email from Defendants’ counsel

      dated May 12, 2020, attached hereto as Exhibit 1.




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   17. The two trucks burned by the fire had VINs ending in 4040 and 4092. Photos of the

      destroyed truck with a VIN ending in 4092 are attached hereto as Exhibit 2.

   18. Despite the Defendants’ obligation to insure the Collateral pursuant to the terms of the

      contracts with U.S. Bank, the Collateral was uninsured. See Email from Defendants’

      counsel dated May 14, 2020, attached hereto as Exhibit 3.

   19. Over the course of the next several weeks, and after much follow up from U.S. Bank’s

      repossession agent InPlaceAuction LLC, Smirnovas eventually returned just four trucks

      to U.S. Bank with VINs ending in 8133, 3251, 3252, and 4044, with the help of Smirnovas’

      employees.

   20. However, Mr. Castagna of InPlaceAuction LLC advised the undersigned counsel that the

      four returned trucks are badly stripped, such that they are worth a fraction of their actual,

      anticipated value. For instance, for the truck with VIN ending in 3252: the original cab of

      the truck was replaced with a junk cab; the original transmission was switched with an

      inferior model; and the truck is missing its hood, wheels and most of its parts. Photos of

      the truck with a VIN ending in 3252 are attached hereto as Exhibit 4.

   21. The Defendants’ counsel advised the undersigned counsel that one of the trucks was

      allegedly abandoned by its driver in Virginia, and provided the last known address of the

      vehicle in Virginia. See Exhibit F to the Defendants’ Motion.

   22. InPlaceAuction LLC tracked the last known location for the truck to Cleo Husky’s Body

      Shop in Hayes, Virginia; however, the body shop indicated that the truck was never located

      at that shop. As such, U.S. Bank has no information to track down that truck.

   23. To date, the Defendants have failed to return four trucks with VINs ending in 8134,

      4042, 8132 and 7935 to U.S. Bank.




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                                          ARGUMENT

       The Defendants complain that Smirnovas may be detained upon re-entry into the United

States because of the outstanding Body Attachment, which poses a risk of Smirnovas being

infected with COVID-19 and a potential delay in him being released from jail. The Defendants

argue that Smirnovas can “more effectively and efficiently” comply with the Defendants’

obligations under this Court’s orders if Smirnovas can return to the U.S. and “not be detained and

incarcerated upon his entry.”

       Smirnovas’ situation is a crisis of his own making. Smirnovas chose to deliberately

disobey the Court’s numerous orders, and rebuff the U.S. Marshals, for months, yet now expects

the Court to vacate the Body Attachment simply because Smirnovas wants to return to the United

States. Smirovas’ conduct is the definition of chutzpah.

       As to Smirnovas’ fear of arrest and catching COVID-19, a simple solution exists, one that

has been obvious for months – he should comply with this Court’s orders and return all of the

Collateral to U.S. Bank and explain under oath how and when he stripped the trucks. Smirnovas

has control over the trucks and his employees, and can easily direct his employees to comply with

the Court’s orders, as evidenced by Defendants’ return of some of the trucks. However, short of

Defendants’ actual compliance and cooperation, the Court should not vacate the Body Attachment.

       Courts agree that, when a court issues a body attachment for civil contempt, the body

attachment should not be vacated unless the contemptor actually complies with the court’s order.

See N.L.R.B. v. HH3 Trucking, Inc., 2013 WL 828349 (7th Cir. 2013) (Seventh Circuit issued

second writ of body attachment to respondents; respondents arrested and taken into custody, but

subsequently released to house arrest to assist their counsel in complying with the court’s judgment

and contempt orders – see Exhibit 5 hereto); Achors v. FCA US, LLC, 2017 WL 9531998 (S.D.




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Ind. Oct. 19, 2017) (court issued body attachment when third party deponent Dean failed to appear

for subpoenaed deposition and show cause hearing; court subsequently discharged the show cause

order and writ of body attachment once Dean complied with subpoena and sat for deposition – see

Exhibit 6 hereto); Greater St. Louis Const. Laborers Welfare Fund v. Marshall Contracting, LLC,

2012 WL 4759772, *1 (E.D. Mo. Oct. 5, 2012) (“Appropriate sanctions include monetary fines

and the issuance of a writ of body attachment for incarceration until the contempt is purged.”)

(emphasis added); In re Marriage of Brass, 2013 WL 1790992, ¶ 12 (Ill. App. Ct. Apr. 25, 2013)

(“Adam failed to appear in court on August 19, 2012, and on August 20, 2012, the court entered a

body attachment order against Adam. The order was vacated later that day and Adam was released

from incarceration after he tendered the required check.”) (emphasis added).

       Undisputedly, the Defendants have refused to comply with this Court’s orders. The

Defendants have failed to return four of the ten trucks (those ending in VINs 8134, 4042, 8132 and

7935) to U.S. Bank. The four trucks returned to U.S. Bank (those ending in VINs 8133, 3251,

3252, and 4044) are so badly stripped that they have little value. Two of the trucks were burned

to a crisp the morning the Defendants were supposed to return the same to U.S. Bank (those ending

in VINs 4040 and 4092); because the Defendants failed to comply with their contractual obligation

to insure the trucks, U.S. Bank cannot be compensated for those losses. U.S. Bank sought to

enforce the Order of Detinue because the Collateral had significant value – $340,000.00 if in

ordinary condition.   Instead, the six trucks “returned” to U.S. Bank are either stripped or

completely destroyed; U.S. Bank can only venture a guess as to the condition of the four trucks

that Defendants have failed to return.

       To be clear, U.S. Bank denies that returning destroyed collateral is in compliance with the

Court’s Order of Detinue, as the destruction occurred after the entry of the Court’s order.




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Accordingly, Smirnovas should be required to explain the circumstances under which the trucks

have been stripped, lost and/or destroyed before the Court vacates the Body Attachment.

         Because the Defendants have failed to obey the Order of Detinue and this Court’s

subsequent orders, U.S. Bank respectfully requests that the Court: (a) deny Defendants’ Motion

and decline vacating the Body Attachment, until Defendants actually comply; and (b) enter an

order requiring the Defendants to appear before the Court (whether by telephone, videoconference

or otherwise) to explain: (i) who stripped the trucks (i.e., the individuals and/or entity); (ii) when

the trucks were stripped (before or after the entry of the Order of Detinue); (iii) to whom the truck

parts were sold; and (iv) if not sold, where the parts are currently.

         The last month has been the only time when Smirnovas has shown any effort at all to

comply with this Court’s orders, apparently because he wants to return to the U.S. while the Body

Attachment is pending. To vacate the Body Attachment at this juncture would reward Defendants’

outrageous conduct and prejudice U.S. Bank. Based on Smirnovas’ past conduct, U.S. Bank has

little hope of Smirnovas abiding by this Court’s orders without the Body Attachment providing

“incentive” for his cooperation. If Smirnovas is afraid of being arrested when he returns to the

U.S., then he should stay at his current location until he complies with the Court’s orders.

         WHEREFORE, U.S. BANK EQUIPMENT FINANCE, a division of U.S. BANK

NATIONAL ASSOCIATION respectfully requests that this Court deny Defendants

ALEXONKA, INC.’s and ALEKSANDRAS SMIRNOVAS’s Motion to Vacate Body Attachment

Order.




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                                       Respectfully submitted,

                                       U.S. BANK EQUIPMENT FINANCE, a division
                                       of U.S. BANK NATIONAL ASSOCIATION


                                By:    /s/ Debra Devassy Babu

                                       Alex Darcy (ARDC # 6220515)
                                       Debra Devassy Babu (ARDC # 06282743)
                                       Askounis & Darcy, PC
                                       444 N. Michigan Avenue, Suite 3270
                                       Chicago, IL 60611
                                       (312)784-2400 (t)
                                       (312)784-2410 (f)
                                       adarcy@askounisdarcy.com
                                       ddevassy@askounisdarcy.com




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Debbie Devassy

From:                            Abe Brustein <abrustein@dimontelaw.com>
Sent:                            Tuesday, May 12, 2020 11:49 AM
To:                              Debbie Devassy; Alex Darcy                                                   1
Cc:                              Jenna M. Jarke
Subject:                         U B Bank and Alexonka

Importance:                      High


Debbie and Alex,

I received a telephone call from Mr. Smirnovas this morning. There was a fire at about 4:00 am this morning in the yard
at 1110 Manhattan, Joliet, where 6 of the U S Bank units are parked. Two of the units are severely damaged. There is
either a Wll County Sheriff’s Dept. or a Joliet Police Dept. Investigation (case no. 20 – 3717). I do not yet have the
insurance information.

Abe

Abraham Brustein
DiMonte & Lizak, LLC
216 W. Higgins Road
Park Ridge, IL 60068
Tel: (847) 698-9600 Ext. 221
Fax: (847) 698-9623
abrustein@dimontelaw.com
Mobile: (773) 339-0960




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Debbie Devassy

From:                            Abe Brustein <abrustein@dimontelaw.com>
Sent:                            Thursday, May 14, 2020 2:49 PM
To:                              Debbie Devassy; Alex Darcy
Cc:                              Jenna M. Jarke
                                                                                                            3
Subject:                         RE: U B Bank and Alexonka


There is no insurance coverage for the damaged property. I was told the building on the property was not damaged.

Abraham Brustein
DiMonte & Lizak, LLC
216 W. Higgins Road
Park Ridge, IL 60068
Tel: (847) 698-9600 Ext. 221
Fax: (847) 698-9623
abrustein@dimontelaw.com
Mobile: (773) 339-0960

From: Debbie Devassy <ddevassy@askounisdarcy.com>
Sent: Thursday, May 14, 2020 2:17 PM
To: Abe Brustein <abrustein@dimontelaw.com>; Alex Darcy <adarcy@askounisdarcy.com>
Cc: Jenna M. Jarke <JJarke@dimontelaw.com>
Subject: RE: U B Bank and Alexonka

Abe,

Just checking in to see if you have information on insurance that may cover the damaged trucks? Was the real property
on the lot damaged?

Thanks
Debbie

From: Debbie Devassy
Sent: Tuesday, May 12, 2020 5:51 PM
To: Abe Brustein <abrustein@dimontelaw.com>; Alex Darcy <adarcy@askounisdarcy.com>
Cc: Jenna M. Jarke <JJarke@dimontelaw.com>
Subject: RE: U B Bank and Alexonka

Thanks

From: Abe Brustein <abrustein@dimontelaw.com>
Sent: Tuesday, May 12, 2020 4:36 PM
To: Debbie Devassy <ddevassy@askounisdarcy.com>; Alex Darcy <adarcy@askounisdarcy.com>
Cc: Jenna M. Jarke <JJarke@dimontelaw.com>
Subject: RE: U B Bank and Alexonka

The damages trucks are those with the VIN ending in 8134 and4092.


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Abraham Brustein
DiMonte & Lizak, LLC
216 W. Higgins Road
Park Ridge, IL 60068
Tel: (847) 698-9600 Ext. 221
Fax: (847) 698-9623
abrustein@dimontelaw.com
Mobile: (773) 339-0960

From: Debbie Devassy <ddevassy@askounisdarcy.com>
Sent: Tuesday, May 12, 2020 12:12 PM
To: Abe Brustein <abrustein@dimontelaw.com>; Alex Darcy <adarcy@askounisdarcy.com>
Cc: Jenna M. Jarke <JJarke@dimontelaw.com>
Subject: RE: U B Bank and Alexonka

Thank you. When you have the VIN information for the damaged units, please provide the same.

Debbie

From: Abe Brustein <abrustein@dimontelaw.com>
Sent: Tuesday, May 12, 2020 12:07 PM
To: Debbie Devassy <ddevassy@askounisdarcy.com>; Alex Darcy <adarcy@askounisdarcy.com>
Cc: Jenna M. Jarke <JJarke@dimontelaw.com>
Subject: RE: U B Bank and Alexonka

I believe that the security camera video or film is now in the custody of the investigative body.

Abraham Brustein
DiMonte & Lizak, LLC
216 W. Higgins Road
Park Ridge, IL 60068
Tel: (847) 698-9600 Ext. 221
Fax: (847) 698-9623
abrustein@dimontelaw.com
Mobile: (773) 339-0960

From: Debbie Devassy <ddevassy@askounisdarcy.com>
Sent: Tuesday, May 12, 2020 12:03 PM
To: Abe Brustein <abrustein@dimontelaw.com>; Alex Darcy <adarcy@askounisdarcy.com>
Cc: Jenna M. Jarke <JJarke@dimontelaw.com>
Subject: RE: U B Bank and Alexonka
Importance: High

Abe,

Thanks for your email.

We hereby demand that your clients preserve any and all evidence related to the fire, including, but not limited to, any
security footage from the yard located at 1110 Manhattan, Joliet. Please provide the insurance information when you
have it. I will reach out to US Bank on the insurance as well.


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          Case
            Case:
               21-10365
                  1:19-cv-06652
                          Doc 35-2
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                                                                   Page 11:41:37
                                                                        3 of 3 PageID
                                                                                  Desc#:375
                                                                                        Exhibit
                                      Group B Page 20 of 47
Thanks,
Debbie

Debbie Devassy Babu
Askounis & Darcy PC
444 North Michigan Avenue, Suite 3270
Chicago, IL 60611
Telephone: 312.784.2400
Facsimile: 312.784.2410
Mobile: 630.631.9225
ddevassy@askounisdarcy.com
www.askounisdarcy.com




From: Abe Brustein <abrustein@dimontelaw.com>
Sent: Tuesday, May 12, 2020 11:49 AM
To: Debbie Devassy <ddevassy@askounisdarcy.com>; Alex Darcy <adarcy@askounisdarcy.com>
Cc: Jenna M. Jarke <JJarke@dimontelaw.com>
Subject: U B Bank and Alexonka
Importance: High

Debbie and Alex,

I received a telephone call from Mr. Smirnovas this morning. There was a fire at about 4:00 am this morning in the yard
at 1110 Manhattan, Joliet, where 6 of the U S Bank units are parked. Two of the units are severely damaged. There is
either a Wll County Sheriff’s Dept. or a Joliet Police Dept. Investigation (case no. 20 – 3717). I do not yet have the
insurance information.

Abe

Abraham Brustein
DiMonte & Lizak, LLC
216 W. Higgins Road
Park Ridge, IL 60068
Tel: (847) 698-9600 Ext. 221
Fax: (847) 698-9623
abrustein@dimontelaw.com
Mobile: (773) 339-0960




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        Case: 05-1362       Group   B
                         Document: 30   Page  31   of 47
                                                Filed: 07/18/2013     Pages: 2
                                                                                                    5

     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                            Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                  Phone: (312) 435-5850
             Chicago, Illinois 60604                                        www.ca7.uscourts.gov




                                                      ORDER
 July 18, 2013

                                                      Before
                                        FRANK H. EASTERBROOK, Chief Judge
                                        WILLIAM J. BAUER, Circuit Judge
                                        DAVID F. HAMILTON, Circuit Judge

                                         NATIONAL LABOR RELATIONS BOARD,
                                         Petitioner

                                         v.
 No.: 05-1362
                                         HH3 TRUCKING, INCORPORATED, GRETCHEN
                                         HUDSON, an individual, and WILLIAM HUDSON, an
                                         individual,
                                         Respondents

                                         NATIONAL LABOR RELATIONS BOARD,
                                         Petitioner

                                         v.
 No.: 05-4075
                                         HH3 TRUCKING, INCORPORATED, GRETCHEN
                                         HUDSON, and WILLIAM HUDSON,
                                         Respondents

  Originating Case Information:

 Agency Case Nos: 33-CA-14374, 33-CA-14571, 33-CA-14616, 33-CA-14650,
                  33-CA-14671, and 33-CA-14737
 National Labor Relations Board

Upon consideration of the Order issued by Judge Kim on July 17, 2013,
Case
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     21-10365
        1:19-cv-06652
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        Case: 05-1362       Group   B
                         Document: 30   Page  32   of 47
                                                Filed: 07/18/2013     Pages: 2


Nos. 05-1362 and 05-4075                                                         Page 2


IT IS ORDERED that William and Gretchen Hudson are temporarily RELEASED from
custody to permit them to assist counsel in securing documentary evidence regarding their
ability or inability to comply with this court's judgments and contempt order. The Hudsons
shall remain on home confinement in their Rockford, Illinois residence until Judge Kim is
able to certify either that the Hudsons have caused themselves fully to comply with this
court's judgments and contempt adjudication or that they have clearly demonstrated that
they are unable to comply. When one of these two things comes to pass, the NLRB is
invited to make a submission in order to permit Judge Kim to make a timely
recommendation.




 form name: c7_Order_3J(form ID: 177)
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      21-10365
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                                                                                    #: 295
                              Group B Page 33 of 47
                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION
                                                                                                    6


   KIMBERLY ACHORS,                                  )
                                                     )
                                Plaintiff,           )
                                                     )
                         vs.                         )      No. 1:15-cv-02052-SEB-MPB
                                                     )
   FCA US, LLC doing business as KOKOMO              )
   TRANSMISSION PLANT,                               )
                                                     )
                                Defendant.           )

                      MAGISTRATE JUDGE’S ENTRY ON
             SHOW CAUSE HEARING AND WRIT OF BODY ATTACHMENT
                           HELD APRIL 12, 2017

        This matter came before the Honorable Matthew P. Brookman, United States Magistrate

 Judge, at 2:00 p.m. (EST), on April 12, 2017, pursuant to an Order to Show Cause and a

 subsequently issued Writ of Body Attachment for Yvonne Dean [Dkt. No. 56 and 57]. Plaintiff

 was represented by counsel Paul Logan, Defendant was represented by Michael Padgett. Non-

 party, Yvonne Dean, appeared pursuant to the Writ executed by the U.S. Marshal.

        Ms. Dean confirmed that her current address is 612 West 6th Street, Marion, Indiana,

 46953. The Court discharged the Show Cause Order and the Writ of Body Attachment and

 ordered Ms. Dean to be released at the conclusion of her deposition, which counsel for the

 parties conducted immediately following the hearing.

        Counsel for the plaintiff orally moved for the renewal of award for sanctions in the form

 of reasonable attorney fees. The Court granted leave for the plaintiff to renew the request by

 written motion, which must also be served upon Ms. Dean.



 Dated: April 12, 2017
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     1:15-cv-02052-SEB-MPB
      21-10365
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                                                                                    #: 296
                              Group B Page 34 of 47



 Distribution:

 Melissa K. Taft
 JACKSON LEWIS P.C. - Indianapolis
 melissa.taft@jacksonlewis.com

 Michael W. Padgett
 JACKSON LEWIS P.C. - Indianapolis
 padgettm@jacksonlewis.com

 John H. Haskin
 JOHN H. HASKIN & ASSOCIATES
 jhaskin@jhaskinlaw.com

 Paul Anthony Logan
 JOHN H. HASKIN & ASSOCIATES
 plogan@jhaskinlaw.com
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                             Group B Page 36 of 47



                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

U.S. BANK EQUIPMENT FINANCE, a division              )
of U.S. BANK NATIONAL ASSOCIATION,                   )     Case No.: 1:19-cv-06652
                                                     )
                                                     )
                      Plaintiff,                     )
                                                     )
                                                     )
ALEXONKA, INC. and                                   )
ALEKSANDRAS SMIRNOVAS,                               )
                                                     )
                      Defendants.                    )

         ORDER TO SHOW CAUSE AND FOR INDIRECT CIVIL CONTEMPT

       This cause coming to be heard on U.S. BANK EQUIPMENT FINANCE, a division of U.S.

BANK NATIONAL ASSOCIATION’s (“U.S. Bank”) Motion for Order to Show Cause and for

Indirect Civil Contempt (the “Motion”)[Docket No. 14], all parties having been given due notice,

the Court being fully advised in the premises,

       IT IS HEREBY ORDERED:

   1. U.S. Bank’s Motion is granted.

   2. Defendant ALEXONKA, INC. (“Alexonka”) is hereby ordered to assemble and surrender

       the following equipment within 14 days of entry of this order:

    One (1) 2015 Freightliner Truck, Model CA125SLP, VIN: 3AKJGLD59FSGH3251;
    One (1) 2015 Freightliner Truck, Model CA125SLP, VIN: 3AKJGLD50FSGH3252;
    One (1) 2015 Freightliner Truck, Model CA125SLP, VIN: 1FUJGLD51FLGG4040;
    One (1) 2015 Freightliner Truck, Model CASCADIA, VIN: 3AKJGLD54FSGD8133;
    One (1) 2015 Freightliner Truck, Model CASCADIA, VIN: 3AKJGLD56FSGD8134;
    One (1) 2015 Freightliner Semi Truck, Model CA125SLP, VIN: 1FUJGLD55FLGG4042;
    One (1) 2015 Freightliner Semi Truck, Model CA125SLP, VIN: 1FUJGLD59FLGG4044;
    One (1) 2015 Freightliner Semi Truck, Model CASCADIA, VIN: 3AKJGLD52FSGD8132;
    One (1) 2015 Freightliner Semi Truck, Model CA125SLP, VIN: 3AKJGLD53FSGG4092;
    One (1) 2015 Freightliner Semi Truck, Model CA125SLP, VIN: 3AKJGLD52FSGM7935.

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   3. Defendants ALEXONKA, INC. and ALEKSANDRAS SMIRNOVAS, as agent of

      Alexonka, are hereby ordered to appear on December 16, 2019 at 9am in Courtroom 1241

      and show cause why Alexonka should not be held in civil contempt for its violation of the

      Court’s Order of Detinue [Docket No. 11].

   4. Defendant ALEXONKA, INC. is ordered to pay U.S. BANK EQUIPMENT FINANCE’s

      attorneys’ fees and costs incurred in enforcing the Order of Detinue and bringing the

      Motion. U.S. Bank shall submit a Petition for Attorneys’ Fees and Costs regarding the

      Motion within seven (7) days of entry of this order.


                            ENTERED:

                                                   ____________________________________
                                                   SHARON JOHNSON COLEMAN
                                                   UNITED STATES DISTRICT JUDGE

                                                   12/4/2019
                                                   ____________________________________
                                                   DATE




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CM/ECF LIVE, Ver 6.3.3 - U.S. District Court, Northern Illinois                      Page 1 of 10
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                                                                    MIDP,SCHENKIER,TERMED

                               United States District Court
            Northern District of Illinois - CM/ECF LIVE, Ver 6.3.3 (Chicago)
                    CIVIL DOCKET FOR CASE #: 1:19-cv-06652


U.S. Bank Equipment Finance v Alexonka, Inc. et al         Date Filed: 10/07/2019
Assigned to: Honorable Sharon Johnson Coleman              Date Terminated: 07/20/2021
Demand: $477,000                                           Jury Demand: None
Cause: 28:1332 Diversity-Account Receivable                Nature of Suit: 190 Contract: Other
                                                           Jurisdiction: Diversity
Plaintiff
U.S. Bank Equipment Finance                  represented by Debra Devassy Babu
a division of U.S. Bank National                            Darcy & Devassy PC
Association                                                 444 N. Michigan Ave.
                                                            Suite 3270
                                                            Chicago, IL 60611
                                                            312/784-2400
                                                            Email: ddevassy@darcydevassy.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                           Charles Randall Woolley , II
                                                           Darcy & Devassy PC
                                                           444 N Michigan Ave Ste 3270
                                                           Chicago, IL 60611
                                                           312/784-2400
                                                           Email: rwoolley@askounisdarcy.com
                                                           ATTORNEY TO BE NOTICED

                                                           David Alexander Darcy
                                                           Darcy & Devassy PC
                                                           444 N. Michigan Avenue
                                                           Suite 3270
                                                           Chicago, IL 60611
                                                           312-784-2400
                                                           Email: adarcy@darcydevassy.com
                                                           ATTORNEY TO BE NOTICED


V.
Defendant
Alexonka, Inc.                               represented by Abraham Brustein
                                                            DiMonte & Lizak
                                                            216 West Higgins Road
                                                            Park Ridge, IL 60068



https://ecf.ilnd.uscourts.gov/cgi-bin/DktRpt.pl?178393074597763-L_1_0-1                 12/21/2021
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  Case 21-10365 Doc 35-2 Filed 12/23/21 Entered 12/23/21 11:41:37                     Desc Exhibit
                                    Group B Page 39 of 47

                                                             (847) 698-9600
                                                             Email: abrustein@dimontelaw.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Derek D. Samz
                                                             Golan Christie Taglia LLP
                                                             70 W. Madison St.
                                                             Ste. 1500
                                                             Chicago, IL 60602
                                                             (312) 263-2300
                                                             Email: DDSamz@GCT.law
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

Defendant
Aleksandras Smirnovas                         represented by Abraham Brustein
                                                             (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                             Derek D. Samz
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED


 Date Filed      #   Docket Text
 10/08/2019      1 COMPLAINT filed by U.S. Bank Equipment Finance, a division of U.S. Bank
                   National Association; Filing fee $ 400, receipt number 0752-16315353.
                   (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6
                   Exhibit, # 7 Civil Cover Sheet)(Babu, Debra) (Entered: 10/08/2019)
 10/08/2019      2 ATTORNEY Appearance for Plaintiff U.S. Bank Equipment Finance, a division
                   of U.S. Bank National Association by Debra Devassy Babu (Babu, Debra)
                   (Entered: 10/08/2019)
 10/08/2019      3 ATTORNEY Appearance for Plaintiff U.S. Bank Equipment Finance, a division
                   of U.S. Bank National Association by David Alexander Darcy (Darcy, David)
                   (Entered: 10/08/2019)
 10/08/2019          CASE ASSIGNED to the Honorable Sharon Johnson Coleman. Designated as
                     Magistrate Judge the Honorable Sidney I. Schenkier. Case assignment: Random
                     assignment. (axc, ) (Entered: 10/08/2019)
 10/08/2019          SUMMONS Issued as to Defendants Alexonka, Inc., Aleksandras Smirnovas
                     (jg, ) (Entered: 10/08/2019)
 10/09/2019      4 NOTICE TO THE PARTIES - The Court is participating in the Mandatory
                   Initial Discovery Pilot (MIDP). The key features and deadlines are set forth in
                   this Notice which includes a link to the (MIDP) Standing Order and a Checklist




https://ecf.ilnd.uscourts.gov/cgi-bin/DktRpt.pl?178393074597763-L_1_0-1                     12/21/2021
CM/ECF LIVE, Ver 6.3.3 - U.S. District Court, Northern Illinois                              Page 3 of 10
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                     for use by the parties. In cases subject to the pilot, all parties must respond to the
                     mandatory initial discovery requests set forth in the Standing Order before
                     initiating any further discovery in this case. Please note: The discovery
                     obligations in the Standing Order supersede the disclosures required by Rule 26
                     (a)(1). Any party seeking affirmative relief must serve a copy of the following
                     documents (Notice of Mandatory Initial Discovery and the Standing Order) on
                     each new party when the Complaint, Counterclaim, Crossclaim, or Third-Party
                     Complaint is served. (bg, ) (Entered: 10/09/2019)
 10/09/2019      5 MOTION by Plaintiff U.S. Bank Equipment Finance for Replevin and Detinue
                   (Attachments: # 1 Exhibit)(Babu, Debra) (Entered: 10/09/2019)
 10/09/2019      6 NOTICE of Motion by Debra Devassy Babu for presentment of motion for
                   miscellaneous relief 5 before Honorable Sharon Johnson Coleman on
                   10/23/2019 at 08:45 AM. (Babu, Debra) (Entered: 10/09/2019)
 10/14/2019      7 SUMMONS Returned Executed by U.S. Bank Equipment Finance as to All
                   Defendants on 10/10/2019, answer due 10/31/2019. . (Babu, Debra) Modified on
                   10/16/2019 (ym, ). (Entered: 10/14/2019)
 10/23/2019      8 MINUTE entry before the Honorable Sharon Johnson Coleman: Motion hearing
                   held on 10/23/2019. The Court enters and continues plaintiff's motion for
                   replevin and detinue 5 until 9:00 a.m. on 10/28/19. Plaintiff must file a proposed
                   order in relation to its motion on or before 10/25/19. Mailed notice. (ym, )
                   (Entered: 10/23/2019)
 10/25/2019      9 ATTORNEY Appearance for Plaintiff U.S. Bank Equipment Finance by Charles
                   Randall Woolley, II (Woolley, Charles) (Entered: 10/25/2019)
 10/28/2019     10 MINUTE entry before the Honorable Sharon Johnson Coleman: Status hearing
                   held on 10/28/2019. The Court grants in part and denies in part plaintiff's motion
                   for replevin and detinue 5 . Enter Order. Mailed notice. (ym, ) (Entered:
                   10/28/2019)
 10/28/2019     11 ORDER Signed by the Honorable Sharon Johnson Coleman on 10/28/2019.
                   Mailed notice. (ym, ) (Entered: 10/28/2019)
 11/04/2019     12 AFFIDAVIT of Service filed by Plaintiff U.S. Bank Equipment Finance
                   regarding Detinue Order served on Alexonka, Inc. on October 29, 2019 (Babu,
                   Debra) (Entered: 11/04/2019)
 11/06/2019     13 MINUTE entry before the Honorable Sharon Johnson Coleman: Status hearing
                   is set for 11/25/2019 at 9:00 AM. Mailed notice. (ym, ) (Entered: 11/06/2019)
 11/21/2019     14 MOTION by Plaintiff U.S. Bank Equipment Finance For Order to Show Cause
                   and For Indirect Civil Contempt (Attachments: # 1 Exhibit)(Babu, Debra)
                   (Entered: 11/21/2019)
 11/21/2019     15 NOTICE of Motion by Debra Devassy Babu for presentment of motion for
                   miscellaneous relief 14 before Honorable Sharon Johnson Coleman on
                   11/26/2019 at 08:45 AM. (Babu, Debra) (Entered: 11/21/2019)
 11/21/2019     16 MOTION by Plaintiff U.S. Bank Equipment Finance Motion for Default
                   Judgment and Motion for an Order of Replevin (Attachments: # 1 Exhibit, # 2




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                     Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit)(Babu, Debra) (Entered:
                     11/21/2019)
 11/21/2019     17 NOTICE of Motion by Debra Devassy Babu for presentment of motion for
                   miscellaneous relief 16 before Honorable Sharon Johnson Coleman on
                   11/26/2019 at 08:45 AM. (Babu, Debra) (Entered: 11/21/2019)
 11/25/2019     18 AFFIDAVIT of Service filed by Plaintiff U.S. Bank Equipment Finance
                   regarding Plaintiff's Motion for Order to Show Cause and For Indirect Civil
                   Contempt served on Aleksandras Smirnovas on November 22, 2019 (Babu,
                   Debra) (Entered: 11/25/2019)
 11/25/2019     19 MINUTE entry before the Honorable Sharon Johnson Coleman: Status hearing
                   held on 11/25/2019. Defendant did not appear nor contact the court. The
                   presentment of plaintiff's motions for order to show cause 14 and for default
                   judgment 16 set for 11/26/2019 at 8:45 AM to stand. Mailed notice. (ym, )
                   (Entered: 11/25/2019)
 11/26/2019     20 MINUTE entry before the Honorable Sharon Johnson Coleman: Motion hearing
                   held on 11/26/2019. Defendants did not appear nor contact the court. Plaintiff's
                   motion for order to show cause 14 and for default judgment 16 are granted.
                   Status hearing is set for 12/16/2019 at 9:00 AM. Mailed notice. (ym, ) (Entered:
                   11/26/2019)
 12/04/2019     21 ORDER to Show Cause and for Indirect Civil Contempt Signed by the
                   Honorable Sharon Johnson Coleman on 12/4/2019. Mailed notice. (ym, )
                   (Entered: 12/04/2019)
 12/04/2019     22 JUDGMENT ORDER and Order for Replevin Signed by the Honorable Sharon
                   Johnson Coleman on 12/4/2019. Mailed notice. (ym, ) (Entered: 12/04/2019)
 12/05/2019     23 CERTIFICATE of Service by Debra Devassy Babu on behalf of U.S. Bank
                   Equipment Finance regarding order 21 , order 22 (Babu, Debra) (Entered:
                   12/05/2019)
 12/09/2019     24 AFFIDAVIT of Service filed by Plaintiff U.S. Bank Equipment Finance
                   regarding Order to Show Cause 21 served on Aleksandras Smirnovas on
                   12/7/2019 (Babu, Debra) (Entered: 12/09/2019)
 12/16/2019     25 MINUTE entry before the Honorable Sharon Johnson Coleman: Status hearing
                   held on 12/16/2019. Plaintiff served the order to defendant. Plaintiff has not
                   heard back from defendant. Plaintiff will attempt to serve defendant again.
                   Status hearing is set for 1/8/2020 at 9:45 AM. Mailed notice. (ym, ) (Entered:
                   12/16/2019)
 01/08/2020     26 MINUTE entry before the Honorable Sharon Johnson Coleman: Status hearing
                   held on 1/8/2020. Counsel for plaintiff reports that defendant was served but no
                   response has been received. Oral motion by plaintiff for a writ of body
                   attachment is granted. Counsel will submit a writ to the court for issuance with
                   the Clerk's Office. Mailed notice. (ym, ) (Entered: 01/09/2020)
 01/10/2020     27 ORDER: The Court orders body attachment as to defendants Alexonka, Inc. and
                   Aleksandras Smimovas for for failure to comply to this court's order. Signed by




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                     the Honorable Sharon Johnson Coleman on 1/10/2020. Mailed notice(pk, )
                     (Entered: 01/10/2020)
 03/16/2020     31 ORDER Amended General Order 20-0012 IN RE: CORONAVIRUS COVID-
                   19 PUBLIC EMERGENCY Signed by the Chief Judge Rebecca R. Pallmeyer
                   on March 16, 2020. All open cases are impacted by this Amended General
                   Order. See attached Order for guidance.Signed by the Honorable Rebecca R.
                   Pallmeyer on 3/16/2020: Mailed notice. (ecw, ) (Entered: 03/17/2020)
 03/30/2020     32 ORDER Seconded Amended General Order 20-0012 IN RE: CORONAVIRUS
                   COVID-19 PUBLIC EMERGENCY Signed by the Chief Judge Rebecca R.
                   Pallmeyer on March 30, 2020. All open cases are impacted by this Second
                   Amended General Order. Amended General Order 20-0012, entered on March
                   17, 2020, and General Order 20-0014, entered on March 20, 2020, are vacated
                   and superseded by this Second Amended General. See attached Order for
                   guidance.Signed by the Honorable Rebecca R. Pallmeyer on 3/30/2020: Mailed
                   notice. (docket12, ) (Entered: 03/31/2020)
 04/24/2020     33 ORDER Third Amended General Order 20-0012 IN RE: CORONAVIRUS
                   COVID-19 PUBLIC EMERGENCY Signed by the Chief Judge Rebecca R.
                   Pallmeyer on April 24, 2020. All open cases are impacted by this Third
                   Amended General Order. Parties are must carefully review all obligations under
                   this Order, including the requirement listed in paragraph number 5 to file a joint
                   written status report in most civil cases. See attached Order. Signed by the
                   Honorable Rebecca R. Pallmeyer on 4/24/2020: Mailed notice. (docket6, )
                   (Entered: 04/27/2020)
 05/08/2020     34 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by U.S. Bank
                   Equipment Finance (Babu, Debra) (Entered: 05/08/2020)
 05/15/2020     35 STATUS Report by U.S. Bank Equipment Finance (Babu, Debra) (Entered:
                   05/15/2020)
 05/23/2020     36 ATTORNEY Appearance for Defendants Alexonka, Inc., Aleksandras
                   Smirnovas by Abraham Brustein (Brustein, Abraham) (Entered: 05/23/2020)
 05/23/2020     37 ATTORNEY Appearance for Defendants Alexonka, Inc., Aleksandras
                   Smirnovas by Derek D. Samz (Samz, Derek) (Entered: 05/23/2020)
 05/23/2020     38 NOTICE by Alexonka, Inc., Aleksandras Smirnovas re attorney appearance 36 ,
                   attorney appearance 37 (Brustein, Abraham) (Entered: 05/23/2020)
 05/23/2020     39 MOTION by Defendants Alexonka, Inc., Aleksandras Smirnovas to vacate order
                   27 (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                   Exhibit E, # 6 Exhibit F)(Brustein, Abraham) (Entered: 05/23/2020)
 05/23/2020     40 NOTICE of Motion by Abraham Brustein for presentment of motion to vacate
                   39 before Honorable Sharon Johnson Coleman on 6/2/2020 at 08:45 AM.
                   (Brustein, Abraham) (Entered: 05/23/2020)
 05/26/2020     41 MINUTE entry before the Honorable Sharon Johnson Coleman: Plaintiff to file
                   a response to defendants' motion to vacate body attachment order 39 by
                   6/16/2020. No appearance necessary on 6/2/2020. Mailed notice. (ym, )
                   (Entered: 05/26/2020)



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 05/26/2020     42 ORDER ORDER Fourth Amended General Order 20-0012 IN RE:
                   CORONAVIRUS COVID-19 PUBLIC EMERGENCY Signed by the Chief
                   Judge Rebecca R. Pallmeyer on May 26, 2020. This Order does not extend or
                   modify any deadlines set in civil cases. For non-emergency motions, no motion
                   may be noticed for presentment on a date earlier than July 15, 2020. See
                   attached Order. Signed by the Honorable Rebecca R. Pallmeyer on 5/26/2020:
                   Mailed notice. (docket7, ) (Entered: 05/26/2020)
 06/08/2020     43 NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by U.S. Bank
                   Equipment Finance (Attachments: # 1 Notice of Filing Notice of Filing and
                   Certificate of Service)(Babu, Debra) (Entered: 06/08/2020)
 06/15/2020     44 RESPONSE by U.S. Bank Equipment Financein Opposition to MOTION by
                   Defendants Alexonka, Inc., Aleksandras Smirnovas to vacate order 27 39
                   (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                   Exhibit 5, # 6 Exhibit 6)(Babu, Debra) (Entered: 06/15/2020)
 06/15/2020     45 NOTICE by U.S. Bank Equipment Finance re response in opposition to motion,
                   44 (Babu, Debra) (Entered: 06/15/2020)
 06/16/2020     46 MOTION by Defendants Alexonka, Inc., Aleksandras Smirnovas for leave to
                   file Reply Brief (Brustein, Abraham) (Entered: 06/16/2020)
 06/16/2020     47 NOTICE of Motion by Abraham Brustein for presentment of motion for leave to
                   file 46 before Honorable Sharon Johnson Coleman on 7/15/2020 at 08:45 AM.
                   (Brustein, Abraham) (Entered: 06/16/2020)
 06/17/2020     48 MINUTE entry before the Honorable Sharon Johnson Coleman: Defendants'
                   motion for leave to file a reply brief 46 is granted. Defendants' reply to their
                   motion to vacate order 39 is due on or before 6/25/2020. No appearance
                   necessary on 7/15/2020. Mailed notice. (ym, ) (Entered: 06/17/2020)
 06/24/2020     49 REPLY by Defendants Alexonka, Inc., Aleksandras Smirnovas to motion to
                   vacate 39 (Attachments: # 1 Exhibit A)(Brustein, Abraham) (Entered:
                   06/24/2020)
 06/24/2020     50 NOTICE by Alexonka, Inc., Aleksandras Smirnovas re reply 49 (Brustein,
                   Abraham) (Entered: 06/24/2020)
 07/10/2020     51 ORDER Fifth Amended General Order 20-0012 IN RE: CORONAVIRUS
                   COVID-19 PUBLIC EMERGENCY Signed by the Chief Judge Rebecca R.
                   Pallmeyer on July 10, 2020. This Order does not extend or modify any deadlines
                   set in civil cases. No motions may be noticed for in-person presentment; the
                   presiding judge will notify parties of the need, if any, for a hearing by electronic
                   means or in-court proceeding. See attached Order. Signed by the Honorable
                   Rebecca R. Pallmeyer on 7/10/2020: Mailed notice. (Clerk6, Docket) (Entered:
                   07/10/2020)
 07/29/2020     52 SUPPLEMENT by Defendants Alexonka, Inc., Aleksandras Smirnovas to
                   Motion to Vacate Body Attachment Order 39 . (Brustein, Abraham) (Docket
                   Text Modified by Clerk's Office on 7/29/2020) (ym, ). (Entered: 07/29/2020)
 07/29/2020     53




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                     NOTICE by Alexonka, Inc., Aleksandras Smirnovas re MOTION by Defendants
                     Alexonka, Inc., Aleksandras Smirnovas to supplement Defendants' Motion to
                     Vacate Body Attachment Order 52 (Brustein, Abraham) (Entered: 07/29/2020)
 07/29/2020     54 NOTICE of Correction regarding document 52 . (ym, ) (Entered: 07/29/2020)
 08/31/2020     55 SUPPLEMENT to Second Supplement to Defendants' Motion to Vacate Body
                   Attachment Order (Attachments: # 1 Exhibit 1)(Brustein, Abraham) (Entered:
                   08/31/2020)
 08/31/2020     56 NOTICE by Alexonka, Inc., Aleksandras Smirnovas re supplement 55
                   (Brustein, Abraham) (Entered: 08/31/2020)
 10/02/2020     57 MINUTE entry before the Honorable Sharon Johnson Coleman: Over plaintiff's
                   objection, the Court grants defendant's motion to vacate the body attachment
                   order to judicially expedite this matter 39 . Status hearing set for 10/20/2020 at
                   9:15 AM and will proceed by telephone conference. The call-in number is (877)
                   336-1829 and the access code is 5205245. Members of the public and media will
                   be able to call in to listen to this hearing. Persons granted remote access to
                   proceedings are reminded of the general prohibition against photographing,
                   recording, and rebroadcasting of court proceedings. Violation of these
                   prohibitions may result in sanctions, including removal of court issued media
                   credentials, restricted entry to future hearings, denial of entry to future hearings,
                   or any other sanctions deemed necessary by the Court. The parties are to file a
                   joint status report in the format described on the court's website at
                   www.ilnd.uscourts.gov at least 3 business days prior to the status. Mailed notice.
                   (ym, ) (Entered: 10/02/2020)
 10/02/2020     58 MINUTE entry before the Honorable Sharon Johnson Coleman: Defendant and
                   his counsel are to be present at the telephonic hearing that is set for 10/20/2020.
                   Mailed notice. (ym, ) (Entered: 10/02/2020)
 10/16/2020     59 STATUS Report Joint Status Report by U.S. Bank Equipment Finance
                   (Attachments: # 1 Notice of Filing and Certificate of Service)(Babu, Debra)
                   (Entered: 10/16/2020)
 10/20/2020     60 MINUTE entry before the Honorable Sharon Johnson Coleman: Telephonic
                   status hearing held on 10/20/2020. Plaintiff will work with the repossession
                   agent to compile a list of the seven trucks that were returned with VIN numbers
                   and the parts that are missing from each truck to be submitted to counsel for
                   defendants within 14 days. Telephonic status hearing is set for 11/20/2020 at
                   10:00 AM. The call-in number is (877)336-1829 and the access code is
                   5205245. Members of the public and media will be able to call in to listen to this
                   hearing. Persons granted remote access to proceedings are reminded of the
                   general prohibition against photographing, recording, and rebroadcasting of
                   court proceedings. Violation of these prohibitions may result in sanctions,
                   including removal of court issued media credentials, restricted entry to future
                   hearings, denial of entry to future hearings, or any other sanctions deemed
                   necessary by the Court. Mailed notice. (ym, ) (Entered: 10/20/2020)
 11/20/2020     61 MINUTE entry before the Honorable Sharon Johnson Coleman: Telephonic
                   status hearing held on 11/20/2020. Counsel for plaintiff reports that 3 out of the




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                     7 trucks had the cabs and frames switched and discovery will need to be done.
                     Telephonic status hearing is set for 1/29/2021 at 9:15 AM. The call-in number is
                     (877)336-1829 and the access code is 5205245. Members of the public and
                     media will be able to call in to listen to this hearing. Persons granted remote
                     access to proceedings are reminded of the general prohibition against
                     photographing, recording, and rebroadcasting of court proceedings. Violation of
                     these prohibitions may result in sanctions, including removal of court issued
                     media credentials, restricted entry to future hearings, denial of entry to future
                     hearings, or any other sanctions deemed necessary by the Court. The parties are
                     to file a status report at least 3 business days prior to the status. Mailed notice.
                     (ym, ) (Entered: 11/20/2020)
 01/25/2021     62 STATUS Report Joint by U.S. Bank Equipment Finance (Attachments: # 1
                   Notice of Filing)(Babu, Debra) (Entered: 01/25/2021)
 01/26/2021     63 MINUTE entry before the Honorable Sharon Johnson Coleman: Telephone
                   status hearing set for 1/29/2021 is stricken and reset to 2/12/2021 at 10:00 AM.
                   The call-in number is (877)336-1829 and the access code is 5205245. Members
                   of the public and media will be able to call in to listen to this hearing. Persons
                   granted remote access to proceedings are reminded of the general prohibition
                   against photographing, recording, and rebroadcasting of court proceedings.
                   Violation of these prohibitions may result in sanctions, including removal of
                   court issued media credentials, restricted entry to future hearings, denial of entry
                   to future hearings, or any other sanctions deemed necessary by the Court.
                   Mailed notice. (ym, ) (Entered: 01/26/2021)
 02/12/2021     64 MINUTE entry before the Honorable Sharon Johnson Coleman: Telephone
                   status hearing held on 2/12/2021. Defendant to file his motion to vacate writ of
                   body attachment by 2/26/2021. Plaintiff's response to be filed by 3/19/2021.
                   Defendant's reply to be filed 3/29/2021. Once the matter is fully briefed, the
                   Court will set a date for oral argument if necessary. Telephone status hearing is
                   set for 5/18/2021 at 9:45 AM. The call-in number is (877)336-1829 and the
                   access code is 5205245. Members of the public and media will be able to call in
                   to listen to this hearing. Persons granted remote access to proceedings are
                   reminded of the general prohibition against photographing, recording, and
                   rebroadcasting of court proceedings. Violation of these prohibitions may result
                   in sanctions, including removal of court issued media credentials, restricted
                   entry to future hearings, denial of entry to future hearings, or any other sanctions
                   deemed necessary by the Court. Mailed notice. (ym, ) (Entered: 02/12/2021)
 03/04/2021     65 Notice of Defendant's Election Not to File Motion for Finding That Contempt
                   Has Been Purged by Aleksandras Smirnovas (Attachments: # 1 Notice of Filing)
                   (Brustein, Abraham) (Entered: 03/04/2021)
 03/04/2021     66 MINUTE entry before the Honorable Sharon Johnson Coleman: Telephone
                   status hearing set for 5/18/2021 is stricken and reset to 3/26/2021 at 9:45 AM.
                   The call-in number is (877)336-1829 and the access code is 5205245. Members
                   of the public and media will be able to call in to listen to this hearing. Persons
                   granted remote access to proceedings are reminded of the general prohibition
                   against photographing, recording, and rebroadcasting of court proceedings.
                   Violation of these prohibitions may result in sanctions, including removal of




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                     court issued media credentials, restricted entry to future hearings, denial of entry
                     to future hearings, or any other sanctions deemed necessary by the Court.
                     Mailed notice. (ym, ) (Entered: 03/04/2021)
 03/17/2021     67 MINUTE entry before the Honorable Sharon Johnson Coleman: The parties are
                   to file a joint status report in the format described on the court's website at
                   www.ilnd.uscourts.gov by March 23, 2021. Mailed notice. (ym, ) (Entered:
                   03/17/2021)
 03/23/2021     68 STATUS Report by U.S. Bank Equipment Finance (Attachments: # 1 Notice of
                   Filing)(Babu, Debra) (Entered: 03/23/2021)
 03/23/2021     69 STATUS Report by Alexonka, Inc., Aleksandras Smirnovas (Attachments: # 1
                   Notice of Filing)(Brustein, Abraham) (Entered: 03/23/2021)
 03/26/2021     70 MINUTE entry before the Honorable Sharon Johnson Coleman: Telephone
                   status hearing held on 3/26/2021. Brief oral arguments held. The matter is taken
                   under advisement and the Court will issue a ruling by mail. Mailed notice.
                   (ym, ) (Entered: 03/26/2021)
 07/09/2021     71 MOTION by Attorney Abraham Brustein and Derek Samz to withdraw as
                   attorney for Alexonka, Inc., Aleksandras Smirnovas. No party information
                   provided (Brustein, Abraham) (Entered: 07/09/2021)
 07/09/2021     72 NOTICE of Motion by Abraham Brustein for presentment of motion to
                   withdraw as attorney 71 before Honorable Sharon Johnson Coleman on
                   7/23/2021 at 09:15 AM. (Brustein, Abraham) (Entered: 07/09/2021)
 07/14/2021     73 MINUTE entry before the Honorable Sharon Johnson Coleman: Presentment of
                   attorneys Abraham Brustein and Derek Samz's motion to withdraw as attorneys
                   for defendant Alexonka, Inc. set for 7/23/2021 at 9:15 AM will proceed as an in-
                   person hearing in courtroom 1241. Defendant Alexonka, Inc. or a representative
                   for Alexonka to be present at the hearing. Mailed notice. (ym, ) (Entered:
                   07/14/2021)
 07/16/2021     74 MINUTE entry before the Honorable Sharon Johnson Coleman: Presentment of
                   attorneys Abraham Brustein and Derek Samz's motion to withdraw as attorneys
                   for defendant Alexonka, Inc. 71 set for 7/23/2021 is stricken and reset to
                   7/21/2021 at 9:45 AM as an in-person hearing. Defendant Alexonka, Inc. or a
                   representative for Alexonka to be present at the hearing. Mailed notice. (ym, )
                   (Entered: 07/16/2021)
 07/20/2021     75 MINUTE entry before the Honorable Sharon Johnson Coleman: Because the
                   Court entered the judgment order and order for replevin in the amount of
                   $511,884.67 on 12/4/2019 and plaintiff is not seeking sanctions in relation to
                   defendant's failure to return all of its collateral or the Court's finding of
                   contempt, this civil lawsuit is closed. Attorneys Abraham Brustein and David
                   Samz's motion to withdraw as attorneys 71 is stricken as moot. Presentment
                   hearing set for 7/21/2021 is stricken. Civil case terminated. Mailed notice. (ym, )
                   (Entered: 07/20/2021)




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